 Case: 4:16-cr-00106-RLW Doc. #: 86 Filed: 02/04/21 Page: 1 of 2 PageID #: 734




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                              Plaintiff,     )
                                             )
               vs.                           )       CRIMINAL NO: 16-00106-RLW-1
                                             )
JAMES BOWEN,                                 )
                                             )
                              Defendant.     )

                                 MOTION FOR EXTENSION


        COMES NOW the Defendant, by and through his attorney, Ethan Skaggs, Assistant
Federal Public Defender for the Southern District of Illinois, and for his Motion for Extension
states as follows:

       1. The Officer of the Federal Public Defender for the Southern District of Illinois was

appointed to assist the Defendant with a possible motion for Compassionate Release.

       2. Counsel intends to file a supplemental motion for compassionate release on behalf of

the Defendant. Counsel is in the process of drafting the supplemental motion. Counsel has had

continuing and recent contact with Mr. Bowen. Counsel has also recently received what appears

to be the most updated BOP medical records for Mr. Bowen. There are questions raised in same

that Counsel has identified. Consequently Counsel is attempting to obtain records directly from

the outside medical facility that Mr. Bowen was taken for treatment.

       3. Counsel needs an extension of time to complete a supplemental motion for

compassionate release to file on the Defendant’s behalf.

       4. No party will be prejudiced if the period of time to file supplemental pleadings is

extended to February 21, 2021.

       5. Counsel has informed the Government this motion is being filed.
 Case: 4:16-cr-00106-RLW Doc. #: 86 Filed: 02/04/21 Page: 2 of 2 PageID #: 735




       WHEREFORE, Defendant prays that this Honorable Court grant his Motion for
Extension and allow the Defendant until February 21, 2021 to file a supplemental pleadings in
this matter.

                                            Respectfully submitted,

                                            /s/ Ethan Skaggs
                                            ETHAN SKAGGS
                                            Assistant Federal Public Defender
                                            650 Missouri Avenue, Room G10A
                                            East St. Louis, Illinois 62201
                                            (618) 482-9050

                                            ATTORNEY FOR DEFENDANT



                               CERTIFICATE OF SERVICE

    The undersigned attorney hereby certifies that he has caused a true and correct copy of the
foregoing to be served upon the assigned Assistant United States Attorney, Southern District of
Illinois, via electronic filing with the Clerk of the Court using the CM/ECF system on February
4, 2021.

                                            /s/ Ethan Skaggs
